UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,

     - against -                            MEMORANDUM & ORDER

OMARI SCOTT,                                24-CR-158 (KAM)

                  Defendant.

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KIYO A. MATSUMOTO, United States District Judge:

     Defendant Omari Scott (“Defendant” or “Scott”) is charged

with promotion of prostitution in violation of 18 U.S.C. § 1952

(“Count One”), sex trafficking of Jane Doe-1 in violation of 18

U.S.C. § 1591(a)(1) (“Count Two”), sex trafficking of Jane Doe-2

in violation of 18 U.S.C. § 1591(a)(1) (“Count Three”), and murder

in the course of sex trafficking in violation of 18 U.S.C. § 2245

(“Count Four”).    (See ECF No. 1, “Indictment.”)

     Presently before the Court are the government’s motions in

limine (1) to admit evidence of Defendant’s use of violence and

coercion against women on the Penn Track other than his identified

trafficking    victims,   evidence   of   his   interactions   with   other

traffickers on the Penn Track, and general evidence about sex

trafficking and related violence on the Penn Track; (2) to admit

evidence of certain out-of-court statements that do not constitute

hearsay or that fall within an exception to the bar against
hearsay; (3) to preclude evidence of and/or argument regarding

certain witnesses’ other sexual activities, pursuant to Federal

Rule of Evidence 412; (4) to permit the government to cross-examine

the defendant regarding his 2016 felony convictions if he chooses

to testify; (5) to preclude any argument or evidence concerning

possible punishment or collateral consequences; (6) for an order

requiring the defendant to disclose Rule 16(b) materials and

witness statements.          (See ECF No. 56, “Mot.”)

       For the reasons below, the government’s motions in limine are

granted in part and denied in part.

                                      BACKGROUND

       According to the Indictment, between approximately January

2021 and June 2023, Omari Scott engaged in the sex trafficking of

at    least    two   women,   Jane     Does-1      and   2,   along    a   stretch   of

Pennsylvania Avenue in Brooklyn, New York (the “Penn Track”).

(Mot. at 1-2.)       The government claims that, through force, fraud,

and   coercion,      Scott    would    use       Jane   Does-1   and   2   to   solicit

customers on the Penn Track and other locations, and to engage in

commercial sex acts with those customers in cars or in nearby

hotels.       (Id. at 1-5.)     The government further asserts that Scott

would collect the proceeds earned by the women he trafficked, and

would use violence and threats of violence against them if these

women did not continue to earn money for him.                    (Id. at 2-4.)

       The government claims that, in late April 2023, Scott learned

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that Jane Doe 2 was planning to leave him to work for the murder

victim, Cleveland Clay (“Clay”), who also had women working for

him in prostitution on the Penn Track.        (Id. at 5-6.)    Video

surveillance from April 30, 2023, allegedly shows Jane Doe-2

exiting Clay’s car on the Penn Track, and the Defendant pulling up

shortly thereafter and violently pulling Jane Doe-2 by her hair

and into his car.   (Id.)    On May 1, 2023, the day of the murder,

Scott was captured on video engaged in a heated argument with Clay

along the Penn Track.    (Id.)   The government further asserts that

the dispute between Scott and Clay ultimately culminated in Scott

and co-defendant Michael Simmons (“Simmons”) deciding to murder

Clay, which Simmons carried out on Scott’s behalf by shooting and

killing Clay shortly after 8:00 a.m. on May 1, 2023.     (Id. at 6-

7.)

                            LEGAL STANDARDS

      “A district court’s inherent authority to manage the course

of its trials encompasses the right to rule on motions in limine.”

Highland Cap. Mgmt., L.P. v. Schneider, 551 F. Supp. 2d 173, 176

(S.D.N.Y. 2008) (citing Luce v. United States, 469 U.S. 38, 41 n.4

(1984)). “The purpose of a motion in limine is to allow the trial

court to rule in advance of trial on the admissibility of certain

forecasted evidence.”     United States v. Kuo Chen, No. 10-cr-671

(KAM), 2011 WL 197585, at *1 (E.D.N.Y. Jan. 20, 2011) (citing Luce,

469 U.S. at 40 n.2.)    To the extent possible, ruling on motions in

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limine in advance of trial, after the parties have been fully

heard, avoids disruptive sidebars, delays, and distractions during

the trial.   See Palmieri v. Defaria, 88 F.3d 136, 141 (2d Cir.

1996) (“The purpose of an in limine motion is to aid the trial

process by enabling the Court to rule in advance of trial on the

relevance of certain forecasted evidence, as to issues that are

definitely   set   for   trial,   without   lengthy   argument   at,   or

interruption of, the trial.”).

     In considering a motion in limine, a trial court should only

exclude evidence when it is “clearly inadmissible on all potential

grounds.”    United States v. Paredes, 176 F. Supp. 2d 192, 193

(S.D.N.Y. 2001).     Where appropriate, “[a] court considering a

motion in limine may reserve judgment until trial so that the

motion is placed in the appropriate factual context.”       See United

States v. Ceballo, No. 13-cr-308 (KAM), 2014 WL 4980554, at *1

(citations omitted).     In its discretion, the Court may also alter

a prior in limine ruling at trial “when the case unfolds.”        Luce,

469 U.S. at 41-42 (“The [in limine] ruling is subject to change

when the case unfolds, particularly if the actual testimony differs

from what was contained in the [movant’s] proffer.       Indeed even if

nothing unexpected happens at trial, the district judge is free,

in the exercise of sound judicial discretion, to alter a previous

in limine ruling.”).



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                                  DISCUSSION

   I.     Evidence of Sex Trafficking and Related Violence on the
          Penn Track

        The government seeks to introduce witness testimony and other

evidence    about   the     general   practice      of   trafficking    women    in

prostitution on the Penn Track.          (Mot. at 7-18.)

        First, the government states that this evidence will include

the “rules” governing the conduct of the women working on the Penn

Track, the interactions between pimps, including Defendant, and

the punishments that the women may be subject to if she breaks any

of the Penn Track “rules.”            (Id.; ECF No. 61, “Reply,” at 2.)

Defendant allegedly followed these “rules.”                 (Mot. at 16.)       The

government asserts that this evidence will be introduced primarily

via video-recordings and testimony from witnesses with first-hand

knowledge.      (Reply at 2.)     The government also expects to elicit

evidence and testimony of the fact that, at times, violations of

these rules are met with threats and violence, including gun

violence by Defendant and his fellow sex traffickers.                 (Id. at 8.)

     Second, the government expects to elicit testimony about the

Defendant’s      relationship     and        interactions     with    other     sex

traffickers and women working in prostitution on the Penn Track

and his participation in the business of sex trafficking on the

Penn Track.      (Id.)    The government intends to introduce evidence

about     the   Defendant    “spending       time   with    other    traffickers,


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assisting other traffickers by keeping tabs on women working for

them,    and     sharing   advice    about    how   to   best   make   money    in

prostitution and discipline women working in prostitution.”               (Id.)

The government intends, for example, to introduce an October 15,

2021, recorded call where an incarcerated associate asked the

Defendant to “shake [] up” the associate’s “main bitch” on the

track and the Defendant responded that he would “scare ‘em first.”

(Id.)

        Third,    the   government    seeks   to    introduce   testimony      and

evidence about minors being trafficked on the Penn Track.               (Id. at

8-9.)    The government submits that the anticipated testimony would

be “limited” and concern “the occasional presence of minors working

in prostitution on the Penn Track.”             (Id.)     The government also

seeks to introduce a November 4, 2021, phone call between Defendant

and an incarcerated associate where Defendant described a female

as “young” and a “baby,” for whom there was a missing person’s

report from New Rochelle, New York, and who had briefly worked for

Defendant in prostitution.           (Id.)

       Fourth, the government seeks to introduce evidence about

Defendant’s use of violence and coercion against women other than

the named sex trafficking victims in the Indictment.               (Mot. at 9-

10.)      Specifically,     this     evidence   would    include   Defendant’s

interactions and relationship with Jane Doe-3, who worked in

prostitution for Defendant during part of the charged time period

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and passed away from an illness in April 2023.                (Id. at 2 n.2, 9-

10.)     As one example, the government seeks to introduce text

messages       between   Jane     Doe-3    and   Defendant,    which     allegedly

reference Defendant’s “coercive tactics and his insistence that

Jane Doe 3 make money for him in prostitution despite her illness.”

(Mot. at 9.)       As another example, the government expects to elicit

witness testimony about Defendant being violent with women on the

Penn Track and the Defendant’s “aggressive efforts to recruit

additional women to work in prostitution for him.”                   (Id. at 10.)

       The     government   asserts       that   all   the   above    evidence   is

admissible as either (1) direct evidence of the charged crime (Mot.

at 10-14); or, in the alternative, (2) as evidence of Defendant’s

modus operandi, knowledge, intent and common scheme or plan under

Federal Rule of Evidence 404(b).                 (Mot. at 14-18.)        Defendant

opposes the admission of this evidence, arguing that the evidence

goes beyond the scope of relevance, is unfairly prejudicial under

Federal Rule of Evidence 403, or is inadmissible under Federal

Rule of Evidence 404(b).          (ECF No. 58, “Opp.” at 1-4.)           The Court

will address each category of evidence in turn.

          A.     Legal Standard

       Direct evidence of the crimes charged in the indictment is

considered      relevant    and    admissible     without    reference    to   Rule

404(b).      See, e.g., United States v. Towne, 870 F.2d 880, 886 (2d

Cir. 1989), cert. denied, 490 U.S. 1101 (1989).                “To be relevant,

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evidence       need    only       tend   to   prove   the   government’s      case,   and

evidence that adds context and dimension to the government’s proof

of the charges can have that tendency.” United States v. Williams,

585 F.3d 703, 707 (2d Cir. 2009) (internal citation omitted).

     Moreover, the Second Circuit in United States v. Carboni, 204

F.3d 39 (2d Cir. 2000), found that “evidence of uncharged criminal

activity is not considered other crimes evidence under Fed. R.

Evid. 404(b) if it arose out of the same transaction or series of

transactions          as    the    charged      offense,    if   it   is    inextricably

intertwined with the evidence regarding the charged offense, or if

it is necessary to complete the story of the crime on trial.”                         Id.

at 44 (quoting United States v. Gonzalez, 110 F.3d 936, 942 (2d

Cir. 1997)). “Background evidence may be admitted to show, for

example, the circumstances surrounding the events or to furnish an

explanation of the understanding or intent with which certain acts

were performed.”            Gonzalez, 110 F.3d at 941 (quoting United States

v. Coonan, 938 F.2d 1553, 1561 (2d Cir. 1991)).

          B.     Evidence of the “Rules” of the Penn Track

     Based on the government’s proffer of the evidence, the Court

finds that evidence of the “rules” of the Penn Track satisfies the

Carboni standard, so long as the government submits evidence that

Defendant observed and/or enforced the “rules.”                             Defendant is

charged    with,       inter       alia,      the   promotion    of   prostitution     in

violation       of     18     U.S.C.       § 1952(a)(3)     (“Count        One”).     The

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government’s proffered evidence of the Penn Track “rules” and

Defendant’s adherence to, and enforcement of, the rules with others

engaged in sex trafficking serves as direct evidence of the charged

offenses of promoting prostitution and sex trafficking, and as

background evidence of relationship-establishing that is directly

admissible   to   “complete     the    story”    of   the    crimes   charged.

Similarly,   evidence     of     the       Defendant’s      involvement   with

trafficking individuals other than Jane Does-1 and 2, is relevant

to, and direct evidence of promoting prostitution, and provides

background and context.        See United States v. Robinson, 702 F.3d

22, 26 (2d Cir. 2012) (finding that evidence of the defendant’s

involvement with other uncharged prostituted women was directly

admissible to “complete the story” of the crimes charged and

establish the relationship between the defendant and the victim);

United States v. Thompson, 178 F. Supp, 3d 86, 94-95 (W.D.N.Y.

2016) (finding evidence of the defendant supplying intoxicants to

the charged and uncharged victims and having sexual relations with

them was admissible as directly relevant to the charged crimes or

as background evidence.)

     Evidence of the Penn Track “rules” is also “inextricably

intertwined” to the charged offenses, provided that the government

shows Defendant’s involvement with applying or enforcing those

rules.   Specifically, the government seeks to admit evidence

showing that these “rules” require the women to give all of the

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money earned in prostitution to their pimp, require the women to

remain in the street and not step onto the sidewalk, and require

the women to obey their pimp.     (Reply at 2.)     Even if the Penn

Track “rules” evidence does not directly establish an element of

the offenses, this evidence “adds context and dimension to the

government’s proof of the charges[]” and is therefore relevant and

admissible as direct evidence of the charged offenses.     Gonzalez,

110 F.3d at 941.   Defendant argues that evidence of the Penn Track

“rules” is unduly prejudicial and should be excluded under Federal

Rule of Civil Procedure 403.   (Opp. at 3-4.)     The Court disagrees

that the probative value of this “rules” evidence is substantially

outweighed by a danger of unfair prejudice to Defendant.     See Fed.

R. Evid. 403.   Evidence of the Penn Track “rules,” and Defendant’s

adherence to them, would be no more inflammatory than the sex

trafficking charges already at issue. Accordingly, the Court finds

evidence of the Penn Track “rules” to be relevant and admissible

as direct evidence under Rule 402, and its probative value is not

substantially outweighed by the risk of unfair prejudice under

Rule 403.




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        C.     Evidence of Defendant’s Interactions and
               Relationships with Other Pimps

      Likewise,    evidence    of   the    Defendant’s   interactions     and

relationships with other pimps, including where Defendant enforced

the “rules” of the Penn Track by offering to “scare” prostitutes

on another pimp’s behalf, is admissible as direct evidence of Count

One, the promotion of prostitution.         The government proffers that

this evidence will “explain[] the origins of the defendant’s sex

trafficking operations at the Penn Track, his ability to manage

and promote his sex trafficking enterprise, and his use of the

rules of the Penn Track to control and coerce the women he sex

trafficked.”      The Court agrees that the proffered evidence is

directly relevant to the charges that the government must prove,

and is thus admissible as direct evidence of the charged offenses.

The Court also finds, in its discretion, that the probative value

of the proffered evidence is not substantially outweighed by its

prejudicial value.       See Fed. R. Evid. 403.

        D.     Evidence of Defendant’s Use of Coercive and Violent
               Tactics Against Victims Other Than Jane Does-1 and 2

      Evidence of Defendant’s use of coercive and violent tactics

with prostitutes other than Jane Does-1 and 2 is also direct

evidence of the charged offenses.          Defendant is charged in Count

One   with   promoting    prostitution,     in   violation   of   18   U.S.C.

§ 1952(a)(3)(A), from in or about and between January 2021 through

May 2023.    (See Reply at 3.)      To the extent the proffered evidence

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shows that Defendant had women working for him in prostitution

during the relevant time period, such evidence is admissible as

direct   evidence    of   Count     One    even    if   the    evidence    concerns

uncharged victims.        See United States v. Overton, No. 15-cr-

9S(WMS), 2017 WL 6347084, at *5 (W.D.N.Y. Dec. 13, 2017) (finding

evidence of defendant’s conduct with other uncharged victims to

satisfy the Carboni standard). At trial, the government will still

be required to sufficiently link this evidence with the charged

offenses, and Defendant remains free to argue to the jury if the

government has failed to make that showing.                    However, the Court

further notes that this evidence is also admissible under Rule

404(b)   as   evidence    of     intent,       preparation,    plan,   absence     of

mistake, or lack of accident.              See United States v. LaFlam, 369

F.3d   153,   156   (2d   Cir.    2004)     (noting     that   under   the   Second

Circuit’s     “inclusionary      approach,”       other-act     evidence     may   be

admitted for any purpose other than to show a defendant’s criminal

propensity).    The Court further finds, in its discretion, that the

probative value of this evidence is not substantially outweighed

by its prejudicial value.             Accordingly, the Court finds that

evidence of Defendant’s use of coercive and violent tactics with

uncharged victims other than Jane Does-1 and 2 is relevant and

admissible.




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          E.   Evidence of Minors Working in Prostitution on the Penn
               Track

      As for the government’s motion to present evidence that minors

occasionally worked on the Penn Track as prostitutes, the Court

finds that even if such evidence was relevant direct evidence of

Defendant’s     charged    offenses,    evidence    of   minors    should    be

excluded under Rule 403 as its probative value is substantially

outweighed by the risk of unfair prejudice.               See Fed. R. Evid.

403. Defendant was not charged with any offenses involving minors,

nor are minors mentioned in any allegations relating to Defendant’s

charged offenses.      Evidence of minors working in prostitution for

Defendant or others on the Penn Track would be highly inflammatory

and unduly prejudicial.        Moreover, it is unclear what probative

purpose, if any, evidence of minor sex trafficking victims would

serve beyond that provided by evidence of non-minors working as

prostitutes on the Penn Track.              Accordingly, the government’s

motion in limine to admit evidence involving minors on the Penn

Track is denied without prejudice. 1

    II.   Out-of-Court Statements

      The government seeks to introduce the following categories of


1 Because the Court finds that evidence of the Penn Track “rules,” the
Defendant’s interactions and relationship with other pimps and individuals
working in prostitution, and the Defendant’s use of coercive and violent tactics
with victims other than Jane Does-1 and 2 are admissible as relevant and direct
evidence, the Court need not assess the same evidence under Fed. R. Evid.
404(b). Even so, the proffered evidence would also be admissible under Rule
404(b)(2).

Under Rule 404(b), evidence of “any other crime, wrong, or act is not admissible

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out-of-court statements:

      (1)   the Defendant’s own statements made to his co-
            conspirators, associates and victims;

      (2)   messages by and between Jane Doe-1 and Jane Doe-2
            about their prostitution work for the Defendant;

      (3)   messages between Jane Doe-2 and Clay about their
            plan for Jane Doe-2 to leave the Defendant to work
            for Clay in prostitution;

      (4)   messages between Clay and his associate about
            Clay’s dispute with the Defendant over Jane Doe-2;
            and

      (5)   messages between Simmons and a woman who worked for
            him in prostitution.

(Mot at 19, 25.)         The government argues that each of these

statements are admissible because they either do not constitute

hearsay or they fall under an exception to the hearsay rule. 2


to prove a person’s character,” but may be admitted “to prove a defendant’s
intent or knowledge when those elements are in dispute.”      United States v.
Priolo, No. 21-cr-566 (NJC), 2025 WL 679413, at *13 (E.D.N.Y. Mar. 4, 2025);
Fed. R. Evid. 404(b). Notably, the Second Circuit has adopted an “inclusionary
approach to evaluating Rule 404(b) evidence.” United States v. Edwards, 342
F.3d 168, 176 (2d Cir. 2003). Here, the Court finds that evidence of the Penn
Track “rules,” Defendant’s interactions with other traffickers and prostitutes,
and Defendant’s interactions with other victims, is admissible to show that
Defendant knew of the trafficking activity, intended to play a specific role in
sex trafficking, and did not participate in sex trafficking by mistake. See
United States v. Hamlett, No. 3:18-cr-24(VAB), 2018 WL 4854627, at *2 (D. Conn.
Oct. 5, 2018) (finding that the evidence was admissible under Rule 404(b)(2)
because it “illustrat[ed] [defendant’s] planning and preparation for commercial
sex acts of the complainants, including advertising their services, knowledge
of client appointments to meet with them, facilitating their commercial sex
acts, and absence of a mistake in promoting their prostitution.”).

2 To the extent that specific out-of-court statements discussed herein are
deemed admissible, the Court also admits the statements that, even if hearsay,
are “necessary to explain the admitted portion, to place the admitted portion
in context, to avoid misleading the jury, or to ensure fair and impartial
understanding of the admitted portion.”    United States v. Johnson, 507 F.3d
793, 796 (2d Cir. 2007)(citing United States v. Castro, 813 F.2d 571, 575-76
(2d Cir. 1987), cert. denied, 484 U.S. 844 (1987) (citations omitted). Federal
Rule of Evidence 106 provides, in relevant part, that “[i]f a party introduces
all or part of a statement, an adverse party may require the introduction, at

                                      14
(Id.)

          A.    Defendant’s Statements to Co-Conspirators,
                Associates, and Victims

      The Federal Rules of Evidence (“FRE”) generally exclude as

hearsay any statement, other than one made by the declarant while

testifying at the trial or hearing, offered in evidence to prove

the truth of the matter asserted.           See Fed. R. Evid. 801(c); United

States v. Marin, 669 F.2d 73, 84 (2d Cir. 1982) (“In general,

hearsay statements are not admissible at trial.”) (citing Fed. R.

Evid. 802).     A party’s own statement, however, is not hearsay when

offered by the party’s opponent against the party.                 Fed. R. Evid.

801(d)(2)(A).

      The government argues that the Defendant’s statements made to

his associates and victims, are not hearsay under Rule 801(d)(2),

or   in   the   alternative,   fall    under       the   hearsay   exception     for

statements against penal interest under Rule 804(b)(3).                 As stated

in Rule 801(d)(2), statements “offered against an opposing party”

are “not hearsay.”       Fed. R. Evid. 802(d)(2).          Here, the government

intends    to   offer    Defendant’s       statement     against   him.        Thus,

Defendant’s      own    statements    to     his    associates     –   i.e.,     the

incarcerated associate and Mr. Welch – are clearly admissible as




that time, of any other part – or any other statement – that in fairness ought
to be considered at the same time.” Fed. R. Evid. 106. By its terms, Federal
Rule of Evidence 106, which codifies the “rule of completeness,” is a rule of
admissibility. See United States v. Avenatti, 559 F. Supp. 3d 274, 281 (S.D.N.Y.
2021).

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relevant,    opposing      party   statements   under   Rule   801(d)(2)(A).

Statements from Defendant to Jane Does-1 and 2 are also undoubtedly

relevant    to    the    charged   offenses   and   admissible   under   Rule

801(d)(2).       The Court therefore need not reach the government’s

alternative argument under Rule 804(b)(3), and the Court further

finds in its discretion that, under Rule 403, the probative value

of this evidence is not substantially outweighed by the risk of

unfair prejudice.

       B.        Statements Between Jane Doe-1 and Jane Doe-2

     As to the second category of statements that the government

seeks to admit, the government argues that the statements between

Jane Doe-1 and Jane Doe-2 are admissible as statements of the

declarant’s then-existing state of mind under Rule 803(3), or in

the alternative, as statements against penal interest pursuant to

Rule 804(b)(3).         As one example, the government asserts that text

messages between Jane Doe-1 and Jane Doe-2 where they express their

“belief” that the Defendant would be “happy” and “proud” of their

prostitution earnings would be admissible under Rule 803(3).              The

government provides no other examples of statements between Jane

Doe-1 and Jane Doe-2 in its motion in limine.

     A statement that relates to a declarant’s state of mind –

including motive, intent, or plan – at the time the declarant made

the statement is not excluded by the rule against hearsay and may

be admitted if otherwise admissible.            See Fed. R. Evid. 803(3);

                                       16
United States v. Cardascia, 951 F.2d 474, 487-88 (2d Cir. 1991).

Thus, the statements between Jane Does-1 and 2 expressing how they

hope Defendant would be “proud” and “happy” about their earnings

are admissible under Rule 803(3).         Without knowing the contents of

the other messages that the government seeks to admit, however,

the Court does not have sufficient information to know whether

such   statements   would   be   admissible   as   non-hearsay   or   in   an

applicable hearsay exception.

       Rule   804(b)(3)   provides   that,     where   the    declarant    is

unavailable, a statement is “not excluded by the rule against

hearsay” if it is one that: “(A) a reasonable person in the

declarant’s position would have made only if the person believed

it be true because, when made, it . . . had so great a tendency to

. . . expose the declarant to civil or criminal liability; and (B)

is supported by corroborating circumstances that clearly indicate

its trustworthiness.”       Fed. R. Evid. 804(b)(3).         The government

argues that, in the alternative, Rule 804(b)(3) would allow for

statements between Jane Doe-1 and Jane Doe-2 to be admitted as

statements believed to be true when made and that would expose the

declarants to criminal liability, if supported by corroborating

circumstances vindicating their trustworthiness.         If the witnesses

are unavailable, the Court finds at this time that there is a

sufficient basis as to the above-described statements to admit

them under Rule 804(b)(3).        As to other statements between Jane

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Does-1   and    2,    the   Court   finds   that    there    is   insufficient

information to rule on Rule 804(b)(3)’s applicability.

     A declarant is “unavailable” if the declarant is, inter alia,

“exempted     from    testifying    about   the    subject   matter    of   the

declarant’s statement because the court rules that a privilege

applies[.]”    Fed. R. Evid. 804(a)(1).       The Second Circuit has held

that a witness’s invocation of their Fifth Amendment privilege

would render them “unavailable” within the meaning contemplated by

Rule 804(a)(1).       See United States v. Williams, 927 F.2d 95, 98-

99 (2d Cir. 1991) (holding that a witness is “unavailable” within

the meaning of Rule 804(a)(1) where he invokes the Fifth).                   The

government has not indicated that either Jane Doe-1 or Jane Doe-2

intends to invoke their Fifth Amendment privilege, rendering them

“unavailable”    to    testify.      Accordingly,    aside    from    the   text

messages discussed above as admissible under Rule 803(3), the

government’s request to admit Jane Doe-1’s or Jane Doe-2’s other

out-of-court statements under this exception is denied without

prejudice.

         C.    Statements Between Clay and Jane Doe-2

     As to the third category of statements the government seeks

to introduce, the government argues that statements between Clay

and Jane Doe-2 are admissible as statements against penal interest

under Rule 804(b)(3).         The government proffers that Clay’s and

Jane Doe-2’s statements discuss Clay’s promotion of, and Jane Doe-

                                      18
2’s involvement in prostitution, including Clay’s attempts to have

Jane Doe-2 work for him in prostitution.   (Mot. at 26.)   The Court

finds that Clay, being now deceased, is “unavailable,” for the

purposes of Rule 804(b), and the statements are against both Clay’s

and Jane Doe-2’s penal interests.    The Court further finds in its

discretion that, under Rule 403, the probative value of this

evidence is not substantially outweighed by the risk of unfair

prejudice.   Accordingly, Clay’s and Jane Doe-2’s out-of-court

statements are relevant and admissible.

       D.    Statements Between Clay and his Associate Regarding
             Trafficking Activities

     As to the fourth category of statements the government seeks

to introduce, the government argues that statements between Clay

and his associate about his sex trafficking activities and his

dispute with Defendant over Jane Doe-2 are admissible as statements

against penal interest under Rule 804(b)(3).   For the same reasons

as set forth in the preceding paragraph, the Court also finds these

statements to be relevant and admissible.       The statements are

relevant, direct evidence of the offenses charged in Counts One,

Three, and Four, and their probative value is not outweighed by

the risk of undue prejudice.

       E.    Statements Between Simmons and a Woman Working for
             Simmons in Prostitution

     The fifth category of out-of-court statements the government

seeks to introduce is two sets of text messages between Simmons

                                19
and a woman who worked for him in prostitution.                     (Mot. at 26-27.)

The first text exchange took place on May 1, 2023, hours before

Clay’s murder, and involved contemporaneous messages leading up to

and shortly after Clay’s murder.               (Id.)   The second text exchange

took place on May 17, 2025, and included messages to Simmons saying

that he “threw his life away for [Defendant and Jane Doe-2].”

(Id.)

     The government argues that statements between Simmons and a

woman       who    worked   in   prostitution    for   him    are     admissible    as

statements against Simmons’s penal interest under Rule 804(b)(3).

(Id.)        In     the   alternative,   the    government    argues     that   these

statements are not being offered for their truth, or are questions

or commands not constituting hearsay. (Id. at 27.) The government

further argues that these statements are admissible as present

sense impressions under Rule 803(1), as excited utterances under

Rule 803(2), and as statements of a party opponent under Rule

801(d)(2).

                  i. Statement of a Party Opponent Under Rule 801(d)(2)

        A   party’s       co-conspirator’s     statement     made    during   and   in

furtherance of the conspiracy is not hearsay when offered by the

party’s opponent against the party. Fed. R. Evid. 801(d)(2)(E).

However, a co-conspirator’s statements would only be admissible

under Federal Rule of Evidence 801(d)(2)(E) as statements of co-

conspirators if “a preponderance of the evidence establishes that

                                          20
a   conspiracy     existed,   that   the   defendant   and   declarant   were

members, and that the statements were made during the course of

and in furtherance of the conspiracy.”          United States v. Tracy, 12

F.3d 1186, 1199 (2d Cir. 1993).

       Defendant argues that he “is not charged with conspiracy so

the government cannot justify admitting the evidence as evidence

of a conspiracy.”        (Opp. at 3.)      “Of course, a co-conspirator’s

statement is admissible if it was made pursuant to any conspiracy,

whether charged or uncharged.”           United States v. Wedd, 993 F.3d

104, 117 n.6 (2d Cir. 2021) (emphasis added); see also United

States v. Maldonado-Rivera, 922 F.2d 934, 962 (2d Cir. 1990)

(“Though . . . Fed. R. Evid 801(d)(2)(E) requires proof that both

the declarant and the party against whom a declaration is offered

be members of the same conspiracy, it does not require that the

conspiracy be one charged in the indictment.”) (citation omitted).

       Assuming, without finding, that Defendant was engaged in a

conspiracy with Simmons, all of Simmons’s statements would thus be

admissible as statements of a party opponent when offered against

Defendant, assuming again that the statements are relevant and not

unduly prejudicial.       See Fed. R. Evid. 801(d)(2); Fed. R. Evid.

403.    At trial, if the government can show the existence of a

conspiracy    by     a   preponderance     of   the    evidence,   Simmons’s

statements would be admissible under Rule 801(d)(2).           Accordingly,

the government’s motion in limine to admit Simmons’ statements on

                                      21
Rule 801(d)(2) grounds is denied without prejudice.

          ii. Alternative Grounds for Admission

       Alternatively, Rule 803(1) provides that certain statements

are “not excluded by the rule against hearsay, regardless of

whether   the     declarant    is   available     as    a   witness”      where   the

declarant’s statement is “describing or explaining an event or

condition, made while or immediately after the declarant perceived

it.”    Fed. R. Evid. 803(1).

       Simmons’    text   message    on    May   1,    2023,     contemporaneously

observing and stating that “[Defendant] got [Jane Doe-2] in the

car,” is thus admissible pursuant to Rule 803(1).                  Simmons’ other

text messages on May 1, 2023, may also be admissible as statements

against penal interest since the statements may discuss Simmons’

promotion   of    prostitution.       However,        the   government      has   not

indicated that Simmons intends to invoke his Fifth Amendment

privilege, thereby rendering him “unavailable” to testify.                      Thus,

aside from the messages containing contemporaneous observations as

discussed   above,    the     government’s       motion     in   limine    to   admit

Simmons’ May 1, 2025, text messages is denied without prejudice to

renew at trial.

       As to Simmons’ May 17, 2025, text messages with a woman who

worked for him in prostitution, the government argues that the

woman’s message to Simmons to “go be with [Defendant] and [Jane

Doe-2]” because Simmons “threw [his] life away for them,” is a

                                          22
command and thus not hearsay.     (Mot. at 27.)    See United States v.

Bellomo, 176 F.3d 580, 586 (1999) (“Statements offered as evidence

of commands . . . rather than for the truth of the matter asserted

therein, are not hearsay.”).      The government proffers that such

statements are being offered as evidence of a command, and not for

the truth of the matter asserted.       (Mot. at 27.)   The Court finds

that the government has not shown that evidence of a command to

Simmons, made two weeks after the murder, to “go to [Defendant]

and [Jane Doe-2]” is sufficiently relevant.           See Fed. R. Evid.

402. Depending on the contents and contexts of the messages, these

messages may be admissible at trial as statements against Simmons’s

penal interest, provided that Simmons is “unavailable” to testify.

Thus, at this time, the government’s motion in limine to admit the

May 17, 2025, statements between Simmons and the woman working for

him in prostitution, is denied without prejudice to renew at trial.

 III.     Evidence of and Argument Regarding Certain Witnesses’
          Involvement in Other Sexual Behavior

     The government seeks to preclude Defendant from arguing that

any other sexual behavior by any of the Jane Doe victims and any

other witnesses in this case is evidence that the Defendant did

not use force, fraud and coercion to cause the victims to engage

in prostitution.      (Mot. at 27.)       According to the government,

certain   witnesses   have   previously    provided   information   about

engaging in prostitution outside of their relationships with the


                                   23
Defendant.      (Id.)     The government does not object to Defendant

cross-examining these witnesses with respect to the content of

their   direct    examination.       (Id.)     Pursuant     to   FRE    412,   the

government moves to preclude evidence, including regarding the

witnesses’ involvement in other sexual behavior, or using the

witnesses’ sexual history in arguments to the jury.                (Id.)

     Defendant opposed the government’s motion and cross-moved,

pursuant to Federal Rule of Evidence 412(c), to argue and admit

evidence regarding the Jane Does working in prostitution for people

other than Defendant.        (Opp. at 6.)      The docket does not reflect

that Defendant served notice of his cross-motion on the alleged

victims, or, if applicable, their guardian(s) as required by

Federal    Rule   of     Evidence   412(c)(1)(C).      In    his    opposition,

Defendant also fails to identify which, if any, of the three

delineated exceptions of Rule 412(b)(1)(A)-(C) applies to support

admission of the proffered evidence.             Rather, Defendant merely

argues that the government seeks to admit certain other “limited

testimony regarding [the witnesses’] prior prostitution-related

activity, in order to put their testimony into context[,]” but

seeks     to   exclude     other    evidence   regarding     the       witnesses’

involvement in sexual behavior.         (Opp. at 5.)        Defendant further

asserts that his right to confront the witnesses and to present a

defense includes his right to introduce evidence which supports a

conclusion that the Jane Does were working as prostitutes for

                                       24
others, not Defendant, and that the Jane Does have “inaccurately

minimized their involvement as sex workers with others.”                            (Id.)

Accordingly,       the    Court    construes      Defendant’s        cross-motion      to

invoke the exception for admission under Rule 412(b)(1)(C).

        A.     The Government’s Motion to Exclude Under Rule 412

     Federal       Rule    of   Evidence        412   forbids       the    admission    of

“evidence offered to prove that a victim engaged in other sexual

behavior”    or     “evidence      offered       to   prove     a    victim’s       sexual

predisposition”      in    “a     civil    or    criminal     proceeding       involving

alleged sexual misconduct.”               Fed. R. Evid. 412(a).             “The purpose

of the rule is to protect against invasions of privacy, potential

embarrassment, and salaciousness.”                See Thompson, 178 F. Supp. 3d

at 90 (citing advisory committee’s note to 1994 amendment to Rule

412).   Moreover, the Second Circuit has upheld the application of

Rule 412 in cases of sex trafficking and interstate prostitution.

See, e.g., United States v. Alvarez, 601 F. App’x 16, 18 (2d Cir.

2015) (summary order) (applying Rule 412 where defendant was

charged with counts of interstate prostitution pursuant to 18

U.S.C. § 2422(a) and sex trafficking pursuant to 18 U.S.C. § 1591).

     The witnesses’ prior sexual behavior, including their history

of prostitution prior to their involvement with Defendant, is not

only inadmissible as prescribed in Rule 412, but also irrelevant

to determining whether the Defendant promoted prostitution and

committed    the    charged       sex   trafficking      offense          through   force,

                                            25
fraud, or coercion.        See United States v. Rivera, No. 13-cr-

149(KAM), 2015 WL 1886967, at *5 (E.D.N.Y. Apr. 24, 2015); United

States v. Roy, 781 F.3d 416, 2015 WL 1283827, at *3 (8th Cir. 2015)

(excluding evidence of victim’s prior prostitution as irrelevant

to defendant’s charged conduct); United States v. Valenzuela, 495

F. App’x 817, 819-20 (9th Cir. 2012) (per curiam) (“Appellants

cannot show the relevance of questions about prior prostitution to

either   Appellants’    knowledge    of    the   use   of    force,   fraud,    or

coercion, or the victims’ consent to work in prostitution.”);

United States v. Cephus, 684 F.3d 703, 708 (7th Cir. 2012) (“They

wanted to suggest that having already been a prostitute she would

not   have   been   deceived   by   [the   defendant]       and   therefore    her

testimony that she was coerced into working for him – an element

of one of the charged offenses when the prostitute is not a minor,

18 U.S.C. § 1591(a) – should be disbelieved.                But the testimony

sought to be elicited by the cross-examination would have been

irrelevant.”).

      As noted above, the government has indicated that it intends

to elicit “limited testimony regarding [the witnesses’] prior

prostitution-related activity, in order to put their testimony

into context[.]”       (Mot. at 28.)       The Court is unpersuaded that

this evidence of a witness’s prior sexual history, whether offered

by the Defendant or the government, will have probative value that

outweighs the substantial risk of unfair prejudice that it poses.

                                      26
Thus, at this time, the Court finds that any evidence of a

witness’s prior sexual history is inadmissible pursuant to Rules

412 and 403.

       B.      Defendant’s Cross-Motion to Admit Evidence of Sexual
               Behavior Under Rule 412(c)

     Rule 412(b)(1) delineates three exceptions permitting the

admission of “sexual behavior” evidence in a criminal case:

     (1)    Evidence of specific instances of a victim’s sexual
            behavior, if offered to prove that someone other than
            the defendant was the source of semen, injury, or other
            physical evidence;

     (2)    Evidence of specific instances of a victim’s sexual
            behavior with respect to the person accused of the sexual
            misconduct, if offered by the defendant to prove consent
            or if offered by the prosecutor;

     (3)    Evidence whose exclusion would violate the defendant’s
            constitutional rights.

Fed. R. Evid. 412(b)(1).       Pursuant to Rule 412(c), if a party

intends to offer evidence under one of the Rule 412(b) exceptions,

the party must, inter alia, at least fourteen days before trial

“file a motion that specifically describes the evidence and states

the purpose for which it is to be offered” and “notify the victim

or, when appropriate, the victim’s guardian or representative.”

Fed. R. Evid. 412(c)(1).     Before admitting the evidence, the court

must conduct an in camera hearing and give the victims and parties

a right to attend and be heard.     Fed. R. Evid. 412(c)(2).

     Defendant’s cross-motion under Rule 412(c) is timely but

procedurally    defective.    First,    there   is   no   indication   that

                                   27
Defendant      has    provided      the   requisite     notice     to       the    affected

victims.       Additionally, even if Defendant had properly provided

notice, he does not describe the evidence he seeks to admit with

requisite specificity.             Rather, Defendant vaguely describes the

evidence merely as “relevant evidence” supporting “the conclusion

that the Jane Does were working for others, not for Scott, and

that    the    Jane   Does,    in    their      testimony    (or       in   any        hearsay

statements      admitted      in   lieu    of     testimony),     have      inaccurately

minimized their involvement as sex workers with others.”                           (Opp. at

6.)      This     generalized        description       fails      to    describe         with

particularity what evidence Defendant seeks to offer                              about the

victim’s other sexual behavior at trial, and fails to meet the

specificity standard prescribed in Rule 412(c)(1)(A).                             Without a

more particularized description, the Court is also unable to

consider whether the exclusion of such evidence would violate

Defendant’s       constitutional          rights.           See    Fed.           R.     Evid.

412(b)(1)(C).         Accordingly,        Defendants’       cross-motion           to   admit

“sexual behavior” evidence under Rule 412(c) is denied without

prejudice.      Defendant may renew this motion no later than May 15,

2025, provided that he adheres to the procedures in Rule 412(c).

  IV.        Impeachment of Defendant with Prior Weapons and
             Narcotics Convictions

       The    government      argues      that,    should    Defendant        choose       to

testify at trial, the government should be permitted to impeach


                                           28
the Defendant with his December 20, 2016 convictions for Criminal

Possession of a Firearm, Ammunition or Electronic Defense Weapon,

in violation of Connecticut Penal Code Section 53a-217, Sale of a

Controlled Substance, in violation of Connecticut General Statutes

Section    21a-277,    Failure   to   Appear     in   the    First   Degree,     in

violation of Connecticut Penal Code Section 53a-172, for which he

was sentenced to total concurrent sentences of six years in prison.

(Mot. at 34.)         Defendant, in his response, asks the Court to

reserve on the issue until trial in the event that he wishes to

testify.    (Opp. at 7.)

       Federal Rule of Evidence 609 applies to attacking a witness’s

character for truthfulness with evidence of a criminal conviction.

In relevant part, Rule 609 provides: “for a crime that, in the

convicting      jurisdiction,    was        punishable      by    death   or     by

imprisonment for more than one year, the evidence . . . must be

admitted in a criminal case in which the witness is a defendant,

if the probative value of the evidence outweighs its prejudicial

effect to that defendant.”       Fed. R. Evid. 609(a)(1).            Rule 609(b)

imposes a ten-year limitation that “applies if more than 10 years

have   passed    since   the   witness’s      conviction     or    release     from

confinement for it, whichever is later.”              Fed. R. Evid. 609(b).

If more than ten years have passed, “[e]vidence of the conviction

is admissible only if: (1) its probative value, supported by

specific   facts   and   circumstances,       substantially       outweighs     its

                                       29
prejudicial effect; and (2) the proponent gives an adverse party

reasonable written notice of the intent to use it so that the party

has a fair opportunity to contest its use.”   Fed. R. Evid. 609(b).

     In weighing the probative value of the evidence of the prior

conviction against its prejudicial effect, courts in this Circuit

consider the following factors: “[1] the impeachment value of the

prior crimes, [2] the date of the conviction and the Defendant’s

subsequent history, [3] the degree of similarity between the past

crimes and this crime, [with dissimilarity favoring admission] [4]

the importance of the Defendant’s testimony, and [5] the centrality

of the Defendant’s credibility in this case.”     United States v.

Hayes, 553 F.2d 824, 828 (2d Cir. 1977) (citations omitted).

“Although all of these factors are relevant, “[p]rime among them

is [the first factor, i.e.] whether the crime, by its nature, is

probative of a lack of veracity.”     United States v. Ortiz, 553

F.2d 782, 784 (2d Cir. 1977).

     The government bears the burden of showing that the probative

value of a prior conviction outweighs its prejudicial effect.   See

United States v. White, 312 F. Supp. 3d 355, 359 (E.D.N.Y. 2018)

(citing Hayes, 553 F.2d at 828).      “When evidence of a prior

conviction is admitted, the presumption is that only the ‘essential

facts’ of the prior conviction – which include ‘the statutory name

of each offense, the date of conviction, and the sentence imposed’

– will be admitted for purposes of impeachment.”     White, 312 F.

                                30
Supp. 3d at 359 (citing United States v. Estrada, 430 F.3d 606,

615-16 (2d Cir. 2005)).

     Here, Defendant was previously convicted of (1) Criminal

Possession of a Firearm, Ammunition or Electronic Defense Weapon,

in violation of Connecticut Penal Code Section 53a-217, (2) Sale

of a Controlled Substance, in violation of Connecticut General

Statutes Section 21a-277, and (3) Failure to Appear in the First

Degree, in violation of Connecticut Penal Code Section 53a-172.

The Court will address each conviction in turn.

          A.    Admissibility of Defendant’s 2016 Conviction for
                Criminal Possession of a Firearm, Ammunition or
                Electronic Defense Weapon

     In the event that Defendant chooses to testify, the government

seeks to cross-examine Defendant on his December 2016 conviction

for criminal possession of a firearm, ammunition, or electronic

defense    weapon.        As    an   initial     matter,      Defendant’s   firearm

conviction falls within Rule 609’s ten-year period, and is thus

subject to the “more lenient” balancing test under Rule 609(a).

(Mot. at 36.); see United States v. Brown, 606 F. Supp. 2d 306,

315 (E.D.N.Y. 2009).

     As to the first factor, the Court recognizes that “Rule

609(a)(1)      presumes    that      all    felonies    are    at   least   somewhat

probative      of   a   witness’s     propensity       to   testify   truthfully.”

Estrada, 430 F.3d at 617.                  The Court finds that attacking a

witness’s      character       for   truthfulness      with    a    conviction   for

                                            31
possession of a firearm and ammunition has minimal impeachment

value.    “Illegally possessing a firearm is not an example of prior

untruthfulness    nor   is   it   a   crime     of    deception,    and     such   a

conviction does not offer insight into how credible a witness . .

. would be.”     United States v. Agostini, 280 F. Supp. 2d 260,

262(S.D.N.Y. 2003); United States v. Joe, No. 07-cr-734(JFK), 2008

WL 2810169, at *4 (S.D.N.Y. July 21, 2008) (courts have found that

prior convictions for gun possession are “not very probative of an

untruthful    character”     as   they     do   not     “‘rest     on    dishonest

conduct.’”) (quoting Estrada, 430 F.3d at 617-18.)

       As to the second factor regarding the date of conviction, the

Court finds this factor weighs against admission.                       Defendant’s

December 20, 2016 firearms conviction is more than eight years

old.    Though, as noted above, “any conviction within the ten-year

statutory limit set forth in 609(b) is ‘subject to the more lenient

balancing test of Rule 609(a)(1)(B) . . . convictions within the

latter half of the ten-year period have diminishing probative

value.”    White, 312 F. Supp. 3d at 360.            The conviction here falls

in the latter half of the ten-year period, and therefore has

decreased probative value.

       With respect to the third factor on the degree of similarity

between the past and charged offense, the Court finds this factor

to weigh slightly against admission. “The less similar the pending

case to the prior conviction, the less prejudicial its admission

                                      32
is.”   Stephen v. Hanley, No. 03-cv-6226(KAM)(LB), 2009 WL 1471180,

at *5 (E.D.N.Y. May 21, 2009).        Though the crimes of promoting

prostitution, sex trafficking and murder are not facially similar

to an offense of firearm possession, a gun was used in the charged

offenses to kill Defendant’s rival pimp. Thus, evidence of a prior

firearm possession offense may still be prejudicial because juries

may view the conviction as “suggestive of a propensity to engage

in crime that may involve a firearm” and that therefore “the jury

is more likely to view the testifying Defendant as having a

propensity to commit crime (and to carry a gun) than having a

propensity to be dishonest.”    United States v. White, No. 06-cr-

0682(NGG), 2009 WL 4730234, at *6 (E.D.N.Y. Dec. 4, 2009).

       In assessing the fourth factor regarding the “centrality of

the Defendant’s credibility,” the Court finds this factor to weigh

slightly against admission.    The government asserts that “if the

defendant testifies, his credibility will be central to the jury’s

determination of the facts at issue.”       (Mot. at 36.)   When “the

credibility of a given witness is particularly important because

there is little other documentary or supporting evidence and

‘success at trial probably hinges entirely on [the witness’s]

credibility with the jury,’” this factor would weigh in favor of

admission.    United States v. Vasquez, 840 F. Supp. 2d 564, 572

(E.D.N.Y. 2011) (citing Jones, 2002 WL 207008, at *3).          Here,

however, the government has not made any assertions that the trial

                                 33
would hinge substantially on Defendant’s testimony in the absence

of documentary or other supporting evidence.

     Lastly, based on the current record, the Court is unable to

consider the fifth factor – the “importance to [defendant’s]

defense of having him testify free from the prejudice which might

be created by reference to [the prior conviction].”   United States

v. Washington, 746 F.2d 104, 106 (2d Cir. 1984) (quoting United

States v. Costa, 425 F.2d 950, 954 (2d Cir. 1969), cert. denied,

398 U.S. 938 (1970)).   Neither the government nor Defendant make

any meaningful arguments as to the importance of Defendant’s

testimony.    Accordingly, the Court finds this factor to neither

weigh in favor of nor against admission.

     Based on the foregoing considerations, factors one to four

currently weigh against the admission of Defendant’s December 20,

2016 conviction under Rule 609(a).   However, the Court finds that

the risk of prejudice of this conviction can be eliminated by

prohibiting the government from inquiring into “the nature or

statutory name of [the] offense,” while still allowing it to

inquire into the other “essential facts,” namely the fact of the

felony conviction, the date, and the length of the sentence.

Estrada, 430 F.3d at 616.    On this record, the Court therefore

denies in part and grants in part the government’s motion in limine

to cross-examine the Defendant on his prior firearm possession

conviction.    The government may, on cross-examination, inquire

                                34
into the fact of the felony conviction, the date, and the length

of the sentence.      The Court’s ruling, however, is subject to

modification    depending   upon   Defendant’s   testimony,   should   he

choose to testify. See White, 2009 WL 4730234, at *6. If Defendant

testifies to facts or issues which can be contradicted or impeached

by evidence of his prior convictions, the Court will reconsider

the scope of its ruling.      See Vasquez, 840 F. Supp. 2d 564, 573

(citing United States v. Maisonneuve, 954 F. Supp. 114, 117-18 (D.

Vt. 1997)).

       B.      Admissibility of Defendant’s 2016 Conviction for Sale
               of a Controlled Substance

     As with Defendant’s conviction for possession of a firearm,

ammunition, or electronic defense weapon, Defendant’s conviction

for sale of a controlled substance falls within the ten-year

limitations period prescribed by Rule 609(b). For the same reasons

as discussed above with Defendant’s conviction for possession of

a firearm, the Court similarly finds that the second and fourth

factor weigh against admission, and the fifth factor to weigh

neither in favor of nor against admission.

     As to the first factor, courts in this Circuit have found

that, “[a]lthough the sale of drugs may be more probative for

purposes of impeachment than mere possession as this court has

found, . . . the sale of drugs is not as probative of credibility

as drug smuggling or conspiracy, which are likely to involve acts


                                    35
of dishonesty or deceit[.]”       Vasquez, 840 F. Supp. 2d at 569-70.

The government has not provided any support for a finding that

Defendant’s past conviction for the sale of narcotics involved

acts of dishonesty or deceit.          Accordingly, the Court finds, on

this record, that the impeachment value of Defendant’s conviction

for sale of a controlled substance, while higher than for mere

drug possession, is still moderately low on the scale of veracity-

related crimes, particularly when compared to other drug crimes

such   as   smuggling   or   conspiracy       that    are   more   probative   of

credibility.     See Hayes, 553 F.2d at 828 n.8 (“In terms of

credibility a conviction for sale of narcotics may fall somewhere

between a conviction for narcotics smuggling and one for narcotics

possession.”) (citing Ortiz, 553 F.2d at 784).

       As to the third “similarity” factor, the Court is concerned

that a drug sale conviction is “suggestive of a propensity to

engage in crime that may involve a firearm” because juries may

view guns as “tools of the drug trade.”              United States v. Jackson,

No. 19-cr-356(ARR), 2020 WL 7063566 (E.D.N.Y. Dec. 2, 2020) (citing

Vasquez, 840 F. Supp. 2d at 571).        Here, Defendant is being charged

with the murder of Cleveland Clay using a firearm.                 Accordingly,

the Court finds that admission of this conviction is more likely

to be prejudicial, and the third factor weighs against admission.

       As an additional point of consideration, the Court is mindful

that   permitting   the   government     to    cross-examine       Defendant   on

                                    36
multiple prior convictions would have an impermissible “piling on”

effect.       See Brown, 606 F. Supp. 2d at 314; Daniels v. Loizzo, 986

F. Supp. 245, 252 (S.D.N.Y. 1997); Fed. R. Evid. 403 (“evidence

may be excluded if its probative value is substantially outweighed

by the . . . needless presentation of cumulative evidence”). Thus,

based    on    the   foregoing   considerations,    the   Court   denies   the

government’s motion in limine to admit evidence of Defendant’s

December 2016 conviction for sale of a controlled substance.               As

discussed above, the Court’s ruling is subject to modification if

Defendant chooses to testify and modification is necessary.

          C.     Admissibility of     Defendant’s    2016   Conviction     for
                 Failure to Appear

        The government also seeks to admit Defendant’s December 2016

conviction for failure to appear.          For the same reasons discussed

above with Defendant’s other two 2016 convictions, the Court

similarly finds here that the second and fourth factor weigh

slightly against admission, and the fifth factor weighs neither in

favor of nor against admission.

     Here, though Defendant’s failure to appear conviction “bears

no resemblance” to the charged offenses, the Court finds that,

without more, Defendant’s conviction for failure to appear does

not bear on elements of veracity and honesty, and the government

does not assert that Defendant used deceit or dishonesty when

committing the failure to appear offense.           Indeed, several courts


                                      37
have found that acts akin to failure to appear are not probative

of a witness’s character for truthfulness.    See United States v.

Vasquez, 840 F. Supp. 2d 564, 574-75 (E.D.N.Y. 2011) (collecting

cases); United States v. Colella, No. 88-cr-538, 1989 WL 89212, at

*9-10 (E.D. Pa. Aug. 1, 1989) (finding that a failure to appear at

trial, alleged violations of probation, and contempts of court do

not bear on a witness’s truthfulness within the meaning of Rule

608(b)); United States v. Montrose, 15 F. App’x. 89, 90 (4th Cir.

2001) (affirming district court’s decision to disallow impeachment

based on a witness’s probation violation because there was no

dishonesty involved). Accordingly, on this record, Defendant’s

former conviction for failure to appear is unlikely to be probative

of his veracity and honesty.

     As with the Court’s decisions regarding Defendant’s other

prior convictions discussed above, the Court’s ruling is subject

to modification depending on the content of Defendant’s testimony.

If Defendant testifies to facts or issues which can be contradicted

by evidence of the failure to appear conviction, the Court will

permit the government to request reconsideration of the Court’s

ruling.

   V.     Evidence or Argument Concerning Possible Punishment or
          Collateral Consequences

     The government moves to preclude at trial any discussion of

the possible punishments or collateral consequences of conviction.


                                 38
(Mot. at 36.)     The government argues that evidence or argument of

collateral consequences should be precluded because it is not

relevant.    (Id.)   The government also notes that Defendant has not

suggested that he intends to introduce any discussion of these

consequences at trial, but moves in limine out of an abundance of

caution.     (Id.) Defendant, in his opposition, asks only for the

Court to reserve ruling on this issue.        (Opp. at 7.)

     It    is   axiomatic   that   “juries   are   not   to   consider   the

consequences of their verdicts” and must undertake their duties as

triers of fact without regard for the sentences that may be imposed

by the Court following a determination of guilt. Shannon v. United

States, 512 U.S. 573, 579 (1994) (“The principle that juries are

not to consider the consequences of their verdicts is a reflection

of the basic division of labor between the judge as sentencer and

the jury as trier of fact.”)       The government’s motion in limine to

preclude evidence and argument regarding collateral consequences

and punishment associated with a potential conviction is therefore

granted.

  VI.      Defendant’s Rule 16(b) Discovery and Trial Exhibits

     The government moves for an order directing the Defendant to

disclose any documents he intends to use in his case-in-chief

during cross-examination of the government’s witnesses. (Mot. at

38.) Defendant, relying primarily on United States v. Harry, No.

10-cr-1915 (JB), 2014 WL 6065705 (D.N.M. Oct. 14, 2014), appears

                                     39
to argue that he is not required to disclose the non-impeachment

evidence he may offer during cross-examination of the government’s

witnesses until after the government rests.            (Opp. at 7-8.)    As a

compromise, Defendant proposes disclosing any documents that he

wishes to offer solely for non-impeachment purposes, to the extent

there are any, “prior to the examination of the witness through

which we intend to offer them.”        (Opp. at 8.)

       As a general matter, “Rule 16(b)(1)(A) is applicable only to

materials that the defendant intends to use in its ‘case-in-chief

at trial.’”   United States v. Daskal, No. 21-cr-110(NGG)(LB), 2023

WL 9424080, at *11 (E.D.N.Y. July 12, 2023).               The term “case-in-

chief” in the Rule 16 context has been interpreted to refer to

“the purpose of the evidence’s introduction and not the timing of

the evidence’s introduction[.]”            Id. (citing United States v.

Aiyaswamy, No. 15-cr-568-1 (LHK), 2017 WL 1365228, at *4 (N.D.

Cal.   Apr.   14,   2017).    “Where       a   defendant     cross-examines   a

government witness to buttress [his] theory of the case, rather

than to impeach the testimony given by the witness on direct

examination, the cross-examination is properly seen as part of the

defendant’s case-in-chief.”         United States v. Napout, No. 15-cr-

252 (PKC), 2017 WL 6375729, at *7 (E.D.N.Y. Dec. 12, 2017).             “Rule

16(b)(1)(A)    disclosure    thus     extends     to   all    non-impeachment

exhibits that defense plans to use at trial, ‘whether the exhibits

will be introduced through a government witness or a witness called

                                      40
by a [d]efendant.” Daskal, 2023 WL 9424080, at *11 (citing Napout,

2017 WL 6375729, at *11).       “Nearly every court to consider the

issue has concluded the same.”     United States v. Crowder, 325 F.

Supp. 3d 131, 136 (D.D.C. 2018) (citing cases).

     Thus, any evidence that Defendant intends to introduce to

support his theory of the case – “i.e., those used to substantively

challenge the elements of the charged offense rather than only

discredit the . . . Witness” – must be disclosed under Rule

16(b)(1)(A).     Daskal, 2023 WL 9424080, at *11.    Accordingly, the

government’s motion is granted.     By May 15, 2025, Defendant must

disclose   and    produce   substantive,   non-impeachment   exhibits,

whether he intends to introduce them during cross-examination or

after the government rests.    This includes all materials Defendant

intends to use to “substantively challeng[e] the elements of the

charged offense[.]”    Aiyaswamy, 2017 WL 13665228, at *4.

                              CONCLUSION

     For the foregoing reasons, the government’s motions in limine

are GRANTED in part and DENIED in part.

     The government’s motion in limine to admit evidence of the

“rules” of the Penn Track, Defendant’s interactions with other

traffickers, and Defendant’s use of coercive and violent tactics

against victims other than Jane Does-1 and 2 is granted.           The

government’s motion in limine to admit evidence of minors on the



                                  41
Penn Track is denied without prejudice.

     The government’s motion in limine to admit certain out-of-

court statements is granted in part and denied without prejudice

in part, as delineated specifically above.

     The   government’s   motion   in   limine   to   exclude   evidence

regarding the “sexual behavior” of certain witnesses is granted.

Defendant’s cross-motion to admit “sexual behavior” evidence is

denied without prejudice.

     The government’s motion in limine to admit Defendant’s prior

December 2016 convictions is granted in part, with the limitations

specified herein, and denied in part.

     The government’s motion in limine to compel Defendant to

produce discovery and trial exhibits pursuant to Rule 16(b) is

granted.   Defendant shall serve his trial exhibits to be used

during his case-in-chief by no later than May 15, 2025.


So ordered.

Dated:     May 12, 2025
           Brooklyn, New York       _______________________________
                                   Hon. Kiyo A. Matsumoto
                                   United States District Judge
                                   Eastern District of New York




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